        Case 5:24-cr-00563-XR          Document 25        Filed 02/26/25      Page 1 of 2




                          UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF TEXAS
                              SAN ANTONIO DIVISION
UNITED STATES OF AMERICA                        §
                                                §
vs.                                             §    CRIMINAL NO: SA:24-CR-00563(1)-XR
                                                §
(1) ROBERT JEFFREY MUELLER                      §

                           ORDER GRANTING CONTINUANCE
                          AND AMENDING SCHEDULING ORDER

       On this day came on to be considered the Defendant’s Unopposed Motion to Continue

Scheduling Order Deadlines. Upon consideration, the Court is of the opinion that the motion is

meritorious and should be GRANTED.

       The Court finds that the period between April 28, 2025 and August 11, 2025 is a

reasonable period of necessary delay in order for the defendant to negotiate a plea; and/or

prepare for trial. The Court finds that the ends of justice served by taking such action outweighs

the best interest of the public and the defendant in a speedy trial, and further finds that the above

period shall be excluded in computing the time in which said defendant must be brought to trial

under the Speedy Trial Act, pursuant to Title 18, United States Code, Section 3161(h)(7)(A).

       It is hereby ORDERED that Defendant’s Unopposed Motion to Continue (Doc. # 24) is

GRANTED.

       It is FURTHER ORDERED that this case will proceed on the following-amended

schedule:

       The deadline for notifying the Court of any PLEA AGREEMENT entered into
       by the parties in this cause is Friday, July 18, 2025. No plea agreement entered
       into after that date will be honored by this Court without good cause shown for
       the delay.
        Case 5:24-cr-00563-XR          Document 25       Filed 02/26/25      Page 2 of 2




       DOCKET CALL or REARRAIGNMENT and PLEA are set for Thursday,
       July 31, 2025 at 1:30 P.M., in Courtroom H on the Third Floor of the United
       States Courthouse, 262 W. Nueva Street, San Antonio, Texas. Proposed jury
       instructions, voir dire, and motions in limine shall be filed by Friday, July 25,
       2025.

       JURY SELECTION AND TRIAL are set for August 11, 2025 at 9:00 A.M., in
       Courtroom H on the Third Floor of the United States Courthouse, 262 W. Nueva
       Street, San Antonio, Texas.

       AS A REMINDER TO THE ATTORNEY FOR DEFENDANT:

       If your client is in custody, arrangements should be made with the U.S. Marshal Service

prior to the date of jury selection and trial to ensure your client has proper attire. In addition,

whenever defendants or witnesses have a need for the services of the Court Interpreter, please

notify the Courtroom Deputy no later than five (5) days before this court setting.

       The Clerk of Court shall send a copy of this order to the United States Attorney, attorney

for the defendant, United States Marshal, United States Probation Officer, and Pretrial Services

Officer. Counsel for defendant will notify the defendant of this setting, and if the defendant

is on bond, advise the defendant that he or she must be present for all court settings unless

excused by the Court. All inquiries pertaining to this Scheduling Order should be directed to

Sylvia Ann Fernandez, Courtroom Deputy for Judge Xavier Rodriguez, at (210) 244-5011.

       Signed this 26th day of February, 2025.



                                                 ______________________________
                                                 XAVIER RODRIGUEZ
                                                 UNITED STATES DISTRICT JUDGE
